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AO 91 (Rev. 11/11) Criminal Complaint
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UNITED STATES DISTRICT COURT

US. DISTRICT COU
NORTHERN DISTRICT OF TEXAS

for the
Northern District of Texas FEB 23 2004
United States of America ) CLERK, U.S. DISTRI T
Vv. ) By
) Deputy’
) Case No. 2:24-MJ-20
)
Nickolas O'Brien )
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of February 16, 2024 in the county of Randall in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18, United States Code, Possession of a Firearm by a Convicted Felon

Sections 922(g)(1) and 924(a)(8)

This criminal complaint is based on these facts:

see attached affidavit in support of complaint.

& Continued on the attached sheet.

Complainant's signature

Andrew Kreusel, FBI TFO

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone
(specify reliable electronic means).

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Judge ’s signature

City and state: Amarillo, Texas Lee Ann Reno, U.S. Magistrate Judge

Printed name and title .

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Cause No. 2:24-MJ-20

AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Andrew J. Kreusel, being duly sworn, depose and state under oath as follows:
Introduction
1. I am a licensed peace officer employed by Amarillo Police Department and
have been since December 2014. Additionally, I am a Task Force Officer (TFO) with
the Federal Bureau of Investigation (FBI) and am assigned to the Dallas Division,
Amarillo Resident Office, Amarillo, Texas. As a TFO, I am assigned to the West
Texas Anti-Gang Safe Streets Task Force. My duties as a TFO include, but are not
limited to, investigating violations of federal and state laws involving drugs, gangs,
and weapons. I have been involved with multiple investigations of illegal narcotics
trafficking and illegal drug smuggling and have specialized training which has been
completed through the Amarillo Police Department, Midwest Counterdrug Training
Center, and the Texas Narcotics Officers Association. I have been involved in several
investigations of illegal contraband and have specialized training and knowledge in
investigating the illicit smuggling, transportation, and trafficking of narcotics in violation
of Title 21, United States Code, Section 841(a)(I).
2. Additionally, I am familiar with federal laws, including Title 18, United States
Code, Section 922(g)(1), which makes it unlawful for any person who has been convicted
in any court of a crime punishable by imprisonment for a term exceeding one year to ship

or transport in interstate commerce, or possess in or affecting commerce, any firearm or

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ammunition, or to receive any firearm or ammunition which has been shipped or
transported in interstate or foreign commerce.

Probable Cause
3. On Friday, February 16, 2024, Amarillo Police officers were aware of a subject
named Nickolas Obrien who was wanted out of Potter County Texas for the charge of
Robbery. Officers received information that Obrien was staying at 3308 S. Monroe
Street (Rear) and conducted surveillance on the residence.
4, At approximately 1:50 PM, Obrien was seen exiting the residence and getting into
a white Nissan Murano which was parked near his residence. Officers moved in to arrest
Obrien. Upon seeing officers, Obrien made movements towards the front driver’s area of
the Nissan and disappeared from officer’s view. He reappeared and had his hands up but
was uncompliant with officers. He was eventually taken to the ground and was taken into
custody for his felony warrant.
5. Officers searched Obrien’s person incident to arrest and was found in possession
of methamphetamines and marijuana. Officers could see in plain view a small handgun
sticking out from under the front of the driver’s seat. The firearm was recovered and
found to be a SCCY Industries CPX-2 9mm SER#C330175. The firearm was loaded with
twelve (12) rounds in the magazine and one (1) round in the chamber.
6. During an interview, Obrien said the car belonged to his sister, but he had put the
gun under the seat when he saw officers approaching him. He admitted to possessing the
firearm by saying that he has possessed the firearm and manipulated on several

occasions. He said the gun belongs to his sister and the reason he has handled it and

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manipulated it was to show his sister how to use it. Obrien admitted that he was aware
that he was a felon and therefore unable to possess a firearm legally. Obrien said he was
only barrowing his sister’s vehicle and did not think it was a big deal to have the firearm
in there even though he knew he was not allowed to possess a firearm.

7. Law enforcement interviewed Obrien’s sister later the same day to release the
vehicle keys to her and speak to her about the firearm. Obrien’s sister said she does allow
her brother to use her vehicle, but she said she has no knowledge of a firearm in her car.
She said she has never handled or manipulated a firearm and that she does not own one.
8. Utilizing open-source searches, the firearm was not manufactured in the state of
Texas and therefore traveled in or affected interstate commerce. Obrien is a convicted

felon and is prohibited from possessing a firearm.

Contlusion
9. Based on my training, education, and experience, and the information
provided to me, there is probable cause that Nickolas Obrien violated Title 18, United
States Code, Section 922(g)(1), which makes it unlawful for any person who has been
convicted in any court of a crime punishable by imprisonment for a term exceeding one
year to ship or transport in interstate commerce, or possess in or affecting commerce, any
firearm or ammunition, or to receive any firearm or ammunition which has been shipped

or transported in interstate or foreign commerce.

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cit Kreusel

Task Force Officer
Federal Bureau of Investigation

Attested to y telephone in accordance with the requirements of Fed. R. Crim. P. 4.1 on
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this A” day of 7 EBE-APRY 2024.

for kun Rew

LEE ANN RENO
U.S. MAGISTRATE JUDGE

Anna Marie Bell
Assistant United States Attorney

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